Schedule of Cash Expenditures Extracted from P L J. Somera

Club Rhtyhm Blues 11-15-06
1999 /|Advertising $1,299.83 85 204-205
1999 |Bad Debt $72.75 85 204
1999 (Bar Equipment $7,072.87 85 204-206
1999 |Bar Supplies $27,042.48 85 200-203
1999 [Adjusted per Sysco | -$15,596.45| Interview w/Sysco
1999 [Business Expense $177.95 85 200
1999 |Charity $125.00 85 200
1999 _|Clerical $704.48 85 200
1999 /|Entertainment $376.06 85 198
1999 |Improvements $3,576.80 85 198
1999 Liquor $4,790.31 85 191
1999 |Maintenance $1,761.03 85 191-192
1999 |Office Equipment $271.10 85 192
1999 |Office Expense $733.35 85 192-193
1999 |Gas & Electric $24.40 85 193
Total $32,431.96
2000 _ Advertising $750.82 85 283
2000 |Bar Equipment $754.00 85 284
2000 _ {Bar Supplies $2,741.21 85 285-286
2000 |Business Expense $394.39 85 286-287
2000 _ {Cigarettes $4,073.92 85 287
2000 {Clerical $781.57 85 287
2000 {Contract Labor $150.00 85 288
2000_ (|Flowers $1,275.00 85 288-289
2000 _ |Improvements $3,312.46 85 290
2000 _ _|Linen $31.33 85 291
2000 __|Liquor $401.51 85 295
2000 _ /|Maintenance $5,731.55 85 295-297
2000 _ |Office Expense $331.83 85 297

EXHIBIT

Page 1 of 3 21

: GOVERNMENT

Page 2 of 3

Schedule of Cash Expenditures Extracted from P L
Club Rhtyhm Blues

$20,729.59
2001 |Bar Supplies $787.05 85 426-427
2001 |Business Expense $126.72 85 427-428
2001  |Cigarettes $55.37 85 428
2001 Flowers $1,320.00 85 431
2001 _|Improvements $210.00 85 432
2001 —_‘|Liquor $527.18 85 436
2001 |Maintenance $468.24 85 438
2001 |Office Expense $442.54 85 438-439
Total $3,937.10
2002 |Business Expense $1,604.77 85 603
2002 = |Donations $1,000.00 85 604
2002 ~=—| Medical $1,574.75}. : 85 605
2002 |Doctor $1,450.00 85 605
2002 /|Medicine $48.98 85 605
2002 {Bar Equipment $0.00 85 646
2002 ~+|Bar Supplies $390.71 85 649
2002 _ |Contract Labor $60.00 85 635
2002 |Dues $0.00 85 652
2002 |Flowers $990.00 85 640
2002 _ |Improvements $239.50 85 642
2002 _|Liquor $14.00 85 668
2002 |Maintenance $339.87 85 614
2002 _ /|Miscellaneous $208.02 85 615
2002 |Office Expense $173.23 85 616
Total $8,093.83
2003 |Club Expense $290.72 85 629

J. Somera
11-15-06
Page 3 of 3

Schedule of Cash Expenditures Extracted from P L

Club Rhtyhm Blues

2003 |Doctor $6,507.00 85 626
2003 {Medicine $105.39 85 625
2003 |Bar Supplies $17.87 85 635
2003 |Maintenance $0.00 85 642
Total $6,920.98

2004 |Bar Supplies $348.41 85 539
2004 |Maintenance $209.61 85 533
2004 /|Office Expense $272.13 85 533
Total $830.15

J. Somera
11-15-06
